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            EXHIBIT 2
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 1   Kyle Roche (admitted phv)                     Todd M. Schneider (SBN 158253)
     Velvel (Devin) Freedman (admitted phv)        Matthew S. Weiler (SBN 236052)
 2   Edward Normand (admitted phv)                 Mark F. Ram (SBN 294050)
     Ivy T. Ngo (SBN 249860)                       SCHNEIDER WALLACE
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13                           UNITED STATES DISTRICT COURT
14                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

15
16    MARK YOUNG, on behalf of himself and all
     others similarly situated,                   Case No. 3:22-cv-03912
17
                                    Plaintiff,    NOTICE OF WITHDRAWAL OF
18
                                                  KYLE W. ROCHE AS COUNSEL
19         v.
                                                  Judge: Hon. James Donato
20   SOLANA LABS, INC.;
     THE SOLANA FOUNDATION;
21   ANATOLY YAKOVENKO; MULTICOIN
     CAPITAL MANAGEMENT LLC; KYLE
22
     SAMANI; and FALCONX LLC,
23
                                    Defendants.
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                  NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
                                  Case No. 3:22-cv-03192
        Case
          Case
             3:21-cv-06118-JD
                3:22-cv-03912-JD Document
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 1          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”) hereby
 3 notifies the Court and all parties that Mr. Roche is no longer involved in RF’s class action practice and
 4 is therefore withdrawing as counsel of record in this case.
 5          NOTICE IS FURTHER GIVEN THAT no further papers, pleadings, motions,
 6 correspondence, communications, regarding the above-caption action, should be served on
 7 Kyle W. Roche.        Any and all future CM/ECF notifications should remain directed towards
 8 Velvel Freedman, Edward Normand, Stephen Lagos, and Ivy Ngo, attorneys of record for Plaintiff
 9 Mark Young.
10 DATED: September 1, 2022                       Respectfully Submitted,
11
12                                                ROCHE FREEDMAN LLP

13                                                /s/ Kyle W. Roche
                                                  Kyle W. Roche
14                                                99 Park Avenue, 19th Floor
                                                  New York, NY 10016
15                                                kyle@rochefreedman.com
16
                                                  Counsel for Plaintiff
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                    NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
                                    Case No. 3:22-cv-03192
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 1                                      CERTIFICATE OF SERVICE
            I hereby certify that on September 1, 2022, a copy of the foregoing was filed electronically
 2
     and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
 3
     e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone unable
 4
     to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
 5
     filing through the Court’s CM/ECF System.
 6
 7
                                                   /s/ Kyle W. Roche
 8
                                                   Kyle W. Roche
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                    NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
                                    Case No. 3:22-cv-03192
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